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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



JOHN STANISE,                                          CASE No.: 1:20-cv-02769-VSB
                      Plaintiffs,
       v.
VICTOR LORIA,
                      Defendant.




 DEFENDANT VICTOR LORIA’S NOTICE OF MOTION SEEKING THE ENTRY OF
   TEMPORARY RESTRAINTS AND A PRELIMINARY INJUNCTION FOR THE
                  PENDENCY OF THIS LITIGATION

       PLEASE TAKE NOTICE that upon the accompanying Declaration of Victor Loria, and

all the pleadings and proceedings herein, Defendant Victor Loria (“Movant”), through the

undersigned counsel, will move this Court before the Honorable Vernon S. Broderick at the

Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New York 10007, at

a date and time as the Court may direct, for an order entering a Temporary Restraining Order and

Preliminary Injunction, pursuant to Fed. R. Civ. P. 65(a) and (b).

       PLEASE TAKE FURTHER NOTICE that any opposition papers must be served within

14 days of service of the moving papers, and any reply papers shall be served within 7 days of

service of the opposition papers, pursuant to F.R.C.P. 6 and Local Rule 6.1.




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Dated: New York, New York
       May 4, 2020
                                          Respectfully submitted,

                                          By: s/ Robert A. Magnanini
                                          Robert A. Magnanini
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                                          Attorneys for Defendant Victor Loria




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                                DECLARATION OF SERVICE

I hereby certify that on this date, I caused to be served on all counsel of record, electronically via

the Court’s electronic filing system, a true and correct copy of the foregoing, Defendant’s

Motion Seeking The Entry Of Temporary Restraints And A Preliminary Injunction For The

Pendency Of This Litigation.

Dated: New York, New York
       May 4, 2020
                                                      Respectfully submitted,

                                                      By: s/ Robert A. Magnanini
                                                      Robert A. Magnanini
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